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      9                             UNITED STATES DISTRICT COURT
     10                            CENTRAL DISTRICT OF CALIFORNIA
                                         EASTERN DIVISION
     11
     12   RAUL NOVOA, JAIME CAMPOS                    Civil Action No. 5:17-cv-02514-JGB-
          FUENTES, ABDIAZIZ KARIM,                    SHKx
     13   and RAMON MANCIA, individually
          and on behalf of all others similarly       PLAINTIFFS’ OPPOSITION TO
     14
          situated,                                   GEO’S MOTION TO COMPEL
     15
                                   Plaintiffs,        Hearing Date: October 2, 2020
     16                                               Time: 11:00 a.m. PST
           v.
     17
                                                      The Honorable Shashi Kewalramani
     18    THE GEO GROUP, INC.,
     19                            Defendant.
     20
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     22
                Plaintiffs have fully complied with their discovery obligations. Ignoring the facts (or
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          inventing facts) and the law, GEO seeks information that it either already has, cannot
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          identify, or cannot articulate any entitlement to. At base, GEO’s complaint are lodged as an
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          attempt to imply both side have fallen short. But GEO is wrong. And GEO’s tactic forces
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          Plaintiffs and the Court to expend time and resources to set straight GEO’s material
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          misrepresentations of fact. GEO’s motion to compel is frivolous and should be denied.
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      1   A.     Plaintiffs have timely complied with their discovery obligations.
      2          GEO falsely accuses Plaintiffs of withholding expert materials, and contends that
      3   “ultimately Plaintiffs refused to comply with their production obligations and produced only
      4   four retainer agreements, not the key documents sought in GEO’s expert subpoenas,” Dkt.
      5   332 at 4, n.1; see also id. at 3, n.2. GEO is wrong. And the assertion is preposterous.
      6          In reality, Plaintiffs produced 5,481 pages of expert reliance materials to GEO days
      7   after disclosure of their respective reports and weeks before each expert’s deposition:
      8
      9           Expert               Disclosure              Production             Deposition
           Jody Bland                August 17, 2020       August 22, 2020         September 23, 2020
     10                                                    1,539 pages
     11
           Dr. Michael Childers      August 17, 2020       August 22, 2020         September 21, 2020
     12                                                    40 pages
     13
           Dr. Margo Schlanger       August 17, 2020       August 22, 2020         September 25, 2020
     14                                                    3,416 pages
     15
           Dr. Craig Haney           August 31, 2020       September 2, 2020       September 25, 2020
     16                                                    486 pages
     17
                 Indeed, Plaintiffs produced these expert reliance materials before GEO served its
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          untimely expert subpoenas on September 3. Even though GEO’s subpoenas were
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          procedurally deficient and requested responses after the close of discovery, Plaintiffs still
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          responded to them. See Declaration of Daniel H. Charest (“Charest Decl.”) at Ex. A. By
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          then, Plaintiffs had already produced the documents—all 5,481 pages—to which GEO was
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          entitled. GEO’s representation to the Court that Plaintiffs have “produced only four retainer
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          agreements,” Dkt. 332 at 4, n.1, is false.
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                 And GEO’s representation that Plaintiffs have withheld “key documents” is also
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          untrue. The “key documents” GEO seeks fall into two categories: information which
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          Plaintiffs have already produced to GEO or information which GEO cannot even identify.
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                 As to the first category, GEO first notified Plaintiffs of its intent to file the pending
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      1   motion on September 30, 2020—the day the motion was due. See Charest Decl. at ¶¶ 2-8;
      2   Ex. B at 5-6. Plaintiffs immediately arranged a telephonic conference with GEO to attempt
      3   to understand and resolve GEO’s concerns. Id. at 1-5.
      4          Following the conference—several hours before GEO filed its motion and within
      5   hours of learning of the actual issue—Plaintiffs provided GEO with Dr. Childers’ prior
      6   engagements as an expert witness and Dr. Schlanger’s email communications with Ms. Claire
      7   Trickler-McKnulty. See Charest Decl. at ¶ 8; Ex. C. Despite having those documents in hand,
      8   GEO chose to misrepresent to the Court that Plaintiffs never produced that information at
      9   all. Dkt. 332 at 5; see also Dkt. 332-1 at ¶ 13 (Robbins Decl.) (declaring under penalty of
     10   perjury that “[a]t the time of the filing of this motion, the parties have not reached a
     11   resolution regarding the issues outlined in this Motion.”). In fact, as soon as GEO articulated
     12   an interest in conferral and explained what it wanted (both for the first time only hours
     13   before filing the pending motion), Plaintiffs provided all identified expert materials. Charest
     14   Decl. at ¶ 8.
     15          As to the second category of “key documents,” GEO asks the Court to compel the
     16   production of “spreadsheets used by [Dr.] Childers,” “documents considered by Ms.
     17   Schlanger,” and “documents relied upon by each of plaintiffs’ experts that were not
     18   previously disclosed.” Dkt. 332 at 5-6. But GEO cannot or will not identify these documents
     19   with any specificity. GEO will not even provide citations to the deposition transcripts of the
     20   experts, which might permit the parties to ascertain what information GEO seeks. It is
     21   therefore impossible for Plaintiffs to identify any of these documents or determine if those
     22   documents are among the 5,481 pages of expert reliance materials already in GEO’s
     23   possession. It is not Plaintiffs’ burden to guess what documents GEO has in mind, assuming
     24   GEO has in mind any specific documents at all. Plaintiffs have fully and completely
     25   complied with their discovery obligations.
     26   B.     GEO is not entitled to Plaintiffs’ personal financial information.
     27          GEO seeks to compel documents responsive to three of its requests for production,
     28   each pertaining to Plaintiffs’ personal financial information. But GEO has not provided any
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      1   coherent or credible reason it is entitled to any of that information. See Dkt. 332 at 6.
      2         For instance, GEO provides no legal or factual support for its assertion that any
      3   income Plaintiffs earned outside of Adelanto (RFPs 20, 21, and 27) is relevant to whether
      4   they should be considered employees of GEO. See Dkt. 332 at 7.1 And, in its motion, GEO
      5   does not even attempt to explain why this information would be relevant to the amount
      6   GEO would be obligated to pay its detainee workforce pursuant to the California Minimum
      7   Wage Law (the “MWL”). See id. Plaintiffs are aware of no legal authority supporting GEO’s
      8   baseless assertion that that an individual’s income history has any bearing on whether an
      9   employment relationship exists for the purposes of California labor law. See Martinez v.
     10   Combs, 49 Cal. 4th 35, 64 (2010), as modified (June 9, 2010). Previous income obviously has
     11   no bearing on whether an employee is entitled to the minimum wage.
     12         GEO’s attempt to compel the production of Plaintiffs’ tax records (RFP 21) fails for
     13   the additional reason that those records are not discoverable at all. The Ninth Circuit
     14   imposes a high bar on a party seeking tax documents in discovery. See Premium Serv. Corp. v.
     15   Sperry & Hutchinson Co., 511 F.2d 225, 229 (9th Cir. 1975) (describing “public policy against
     16   unnecessary public disclosure” of taxpayer information). GEO bears the burden of
     17   demonstrating that the documents are “relevant to the subject matter of the action,” and
     18   that “there is a compelling need for the returns because the information contained therein
     19   is not otherwise readily obtainable.” Brill v. Napolitano, 2010 WL 11512400, at *6 (C.D. Cal.
     20   May 12, 2010).
     21         GEO makes no attempt at either showing, or to support its apparent belief that
     22   whether Plaintiffs paid taxes on their $1/day wages “directly relates to the issue of whether
     23   plaintiffs considered themselves to be employees or to have received renumeration.” Dkt.
     24   332 at 7. Again, the law does not support the test GEO advances. See Martinez v. Combs, 49
     25   Cal. 4th 35, 64 (2010), as modified (June 9, 2010). And there is no question that Plaintiffs
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     27     During the September 30, 2020 conference, GEO oddly asserted there might be records
          of employment while the Class Representatives were detained at Adelanto. The position
     28   still makes no sense.
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      1   considered themselves to be employees of GEO or that they received $1/day wages, when
      2   they were paid anything at all. See, e.g., Dkt. 223 at 11-12 (finding that all four class
      3   representatives have standing to represent the Adelanto Wage Class).
      4         Similarly, GEO fails to articulate any basis for its claim that documents showing
      5   Plaintiffs’ purported receipt of public benefits are relevant to whether GEO was unjustly
      6   enriched by paying detainee workers less than it was required to under California law. See
      7   Dkt. 332 at 7. The cases relied upon by GEO do not support this assertion. See, e.g., Donovan
      8   v. Kentwood Dev. Co., 549 F. Supp. 480, 488 (D. Md. 1982) (calculating the amount of overtime
      9   and minimum wage payments due to employees in Maryland); Cortez v. Purolator Air Filtration
     10   Prod. Co., 23 Cal. 4th 163 (2000) (holding that payment of wages unlawfully withheld from
     11   an employee are a restitutionary remedy authorized by the California Unfair Competition
     12   Law). There is no exemption in California Labor Law that permits employers to pay
     13   subminimum wages to employees who receive public benefits. See Martinez v. Combs, 49 Cal.
     14   4th 35, 64 (2010), as modified (June 9, 2010).
     15         GEO fails to offer any cognizable basis for production. The Court should deny
     16   GEO’s motion to compel.
     17   C.    Touhy does not apply to Dr. Schlanger’s testimony in this case.
     18         Plaintiffs retained Dr. Margo Schlanger to opine regarding the general circumstances
     19   and standards governing civil immigration detention. Dr. Schlanger has been a tenured law
     20   professor at the University of Michigan since 2009, although for a two-year period in 2010
     21   and 2011 she was on leave to serve as the Officer for Civil Rights and Civil Liberties (CRCL)
     22   at the U.S. Department of Homeland Security (DHS). Plaintiffs timely disclosed Dr.
     23   Schlanger’s expert report on August 17, and she was deposed by GEO on September 25.
     24         The evening before Dr. Schlanger’s deposition, Plaintiffs received a letter from Leo
     25   E. Boucher, III, Assistant General Counsel for Administrative Law at DHS. Ex. D. In the
     26   letter, DHS asserts that Dr. Schlanger’s testimony may be subject to the requirements of 6
     27   C.F.R. §§ 5.41-5.49, commonly referred to as DHS’s Touhy regulations, which purport to
     28   “govern the release of testimony or information in the custody and control of the
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      1   Department, or was acquired by Department employees, or former employees, as part of
      2   their official duties or because of their official status within the Department while such
      3   individuals were employed by or served on behalf of the Department.” Id. (citing United
      4   States ex. rel. Touhy v. Ragen, 340 U.S. 462 (1951)).
      5            As Plaintiffs informed DHS, see Ex. E, the agency’s Touhy regulations do not apply to
      6   Dr. Schlanger’s testimony in this case.2 DHS’s Touhy regulations provide certain restrictions
      7   on the release of information that “was acquired by Department employees, or former
      8   employees, as part of their official duties or because of their official status within the
      9   Department while such individuals were employed by or served on behalf of the
     10   Department.” 6 C.F.R. § 5.41(e). As a threshold issue, DHS’s position contradicts the plain
     11   text of the regulation itself, which applies only to the “former Secretaries of Homeland
     12   Security and all [current] employees of the Department of Homeland Security.” 6 C.F.R. §
     13   5.41(c). Dr. Schlanger is not a former Secretary of Homeland Security or a current DHS
     14   employee. She is therefore not within the ambit of the Touhy regulations at all.
     15            But even if the regulations applied to Dr. Schlanger as a “former employee” of DHS,
     16   the Touhy restrictions, by their express terms, do not extend to “any expert or opinion
     17   testimony by a former employee of the Department . . . where the testimony involves only
     18   general expertise gained while employed at the Department.” Id. § 5.49(b) (emphasis
     19   added). In this case, Dr. Schlanger will testify only as to the general circumstances and
     20   standards governing civil immigration detention. She formed her opinions based on a
     21   combination of the general expertise she gained while employed by the government and in
     22   academia, along with information readily accessible to the public or otherwise disclosed in
     23   this litigation. In fact, much of the information contained in Dr. Schlanger’s declaration is
     24   currently publicly available on ICE’s own website, in the testimony of current ICE officials,
     25   and in reports published by the DHS Office of Inspector General (“OIG”). None of her
     26   opinions involve any information or material acquired while she was employed by the
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     28   2
              The issue of Touhy’s applicability has been before the Court before. See Dkt. 93.
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      1   government.
      2         In its discussion of the Touhy issue, GEO claims that during Dr. Schlanger’s
      3   deposition, “the witness and Plaintiffs’ counsel objected numerous times to questions on
      4   the basis of Touhy.” Dkt. 332 at 8. That is false. GEO has not and cannot provide any
      5   evidence of these objections, because none exists. Similarly, GEO has not provided any
      6   evidence of questions asked or information sought that Dr. Schlanger did not provide, on
      7   the basis of Touhy or anything else. When asked for examples of questions that GEO had
      8   that the witness could not answer, GEO could not identify even one. GEO has not been
      9   denied any material information, even in light of DHS’s improper assertion of Touhy.
     10         In sum, Touhy does not apply in this action at all, nor it does it have any applicability
     11   whatsoever to Dr. Schlanger’s testimony. And in any event, GEO has not been denied any
     12   information necessary for this case.
     13                                          CONCLUSION
     14         GEO’s Motion to Compel should be denied in its entirety.
     15
     16   Dated: October 1, 2020                   Respectfully submitted,
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      1                                 CERTIFICATE OF SERVICE
      2
                 I, Daniel H. Charest, electronically submitted the foregoing document with the clerk
      3
           of the court for the U.S. District Court, Central District of California, using the electronic
      4
           case filing system. I hereby certify that I have provided copies to all counsel of record
      5
           electronically or by another manner authorized by Fed. R. Civ. P. 5(b)(2).
      6
           Dated: October 1, 2020
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